        Case 5:22-cv-00044-MHH Document 1 Filed 01/11/22 Page 1 of 13                   FILED
                                                                               2022 Jan-11 PM 12:58
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                       NORTHEASTERN DIVISION

DIANA WEBB                                   )
on behalf of herself and all others          )
similarly situated,                          )
                                             )
                    Plaintiff,               )   CASE NO. _____________
                                             )
vs.                                          )
                                             )
WALMART, INC.                                )
                                             )
                    Defendant.               )

                                  COMPLAINT

      COMES NOW Diana Webb, Plaintiff in the above-styled action, on behalf of

herself individually and all others similarly-situated, files her Complaint against

Walmart, Inc. (“Walmart”), Defendant in the above-styled action, and, in support

thereof, shows as follows:

                                      PARTIES

      1.      Diana Webb is a Caucasian female above the age of nineteen (19) and

is a resident of Madison County in the State of Alabama.

      2.      Walmart, Inc. is a foreign corporation, doing business by physical

presence and registered agent in the State of Alabama, within the Northern District

of Alabama.




                                         1
        Case 5:22-cv-00044-MHH Document 1 Filed 01/11/22 Page 2 of 13




                             JURISDICTION AND VENUE

      3.     Federal jurisdiction exists as this action arises under Title VII of the

Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e - 2000e-17, the Civil

Rights Act of 1991, 42 U.S.C. § 1983a.

      4.     This Court maintains subject matter jurisdiction under 42 U.S.C. §

2000e-5(f) and 28 U.S.C. § 1343(a)(4).

      5.     All of the events, transactions or occurrences which gave rise to

Plaintiff’s claims took place in this Judicial District. Therefore, venue is proper in

this district and this division pursuant to 28 U.S.C. § 1391(b)(1).

                              CONDITIONS PRECEDENT

      6.     Plaintiff has exhausted all administrative remedies, as mandated by 29

U.S.C. § 626(d)(1), by filing a Charge of Discrimination with the Equal Employment

Opportunity Commission on or around October 5, 2021, alleging discrimination by

Defendants (the “Charge.”) A copy of the Charge is attached hereto as Exhibit A and

its terms incorporated by reference as if fully set out herein.

      7.     The Equal Employment Opportunity Commission issued Plaintiff a

Right to Sue Letter, dated October 25, 2021 (the “RTS Letter.”) A copy of the RTS

Letter is attached hereto as Exhibit B and its terms incorporated by reference as if

fully set out herein.




                                           2
         Case 5:22-cv-00044-MHH Document 1 Filed 01/11/22 Page 3 of 13




       8.     Plaintiff has satisfied all conditions precedent to the filing of the instant

Complaint.

                                          FACTS

       9.     Plaintiff restates and realleges the allegations contained in paragraphs

1 through 8 as if fully set out herein.

       10.    Walmart employs both male and female delivery drivers to drive its

trucks to deliver goods to its retail outlet locations (the “Drivers.”)

       11.    Historically and presently, there are more male than female Drivers for

Walmart.

       12.    Drivers are required to wear uniforms consisting of pants and a shirt

while working on their jobs as a condition of employment. A Driver not wearing the

mandated uniform is subject to immediate termination.

       13.    Defendant Walmart provides an entire uniform, including pants, as part

of the uniform requirement. Drivers are required to don these uniforms prior to

arrival at the job site.

       14.    Defendant Walmart also provides a dry-cleaning / laundry service for

the uniform and pants that it provides to the Drivers.

       15.    However, Defendant Walmart only provides men’s pants for both male

and female Drivers.




                                            3
        Case 5:22-cv-00044-MHH Document 1 Filed 01/11/22 Page 4 of 13




      16.      The men’s pants provided by Walmart to its Drivers, regardless of

gender, are uncomfortable and poorly-fitting for the female Drivers. For female

Drivers, it is impossible to wear the men’s pants provided by Walmart specifically

made to fit only male employees due to anatomical differences between the sexes.

      17.      Female drivers are therefore required to either suffer discomfort, or

purchase and launder their own pants, out of their own pocket, with no option for

reimbursement, in order to fulfill Walmart’s employment requirements.

      18.      If female Drivers chooses to purchase their own pants, then the pants

they purchase are required to be denim jeans, khaki slacks or shorts of some

description.

      19.      Further, Walmart will not launder any pants worn by female Drivers

that were not provided by Walmart, and the females, not the males, must incur the

expense of laundering their own uniform pants.

      20.      Walmart’s nation-wide practice is to provide pants that only fit their

male Drivers, while requiring only female employees like the Plaintiff employed by

Walmart and other females similarly situated, wherever, located, to purchase and

launder their own uniform pants.

      21.      This is blatant sex discrimination by Walmart against its female

Drivers.




                                           4
        Case 5:22-cv-00044-MHH Document 1 Filed 01/11/22 Page 5 of 13




                              Named Plaintiff Allegations

      22.       Diana Webb was hired by Walmart as delivery driver on July 20th,

2020, and remains employed as a Driver for Defendant, Walmart.

      23.       As a requirement of her continued employment, Plaintiff Webb is

required to wear the Driver uniform provided to her by Walmart.

      24.       For Plaintiff, and other female drivers, it is impossible to wear the

men’s pants provided by Walmart specifically made to fit only male employees.

      25.       Plaintiff purchased her own pants conforming to Walmart’s uniform

requirements at her own expense. An economic expense her male colleagues have

not suffered.

      26.       Plaintiff has laundered and continues to launder her own pants

conforming to Walmart’s uniform requirements at her own expense. An economic

expense her male colleagues have not suffered and do not presently suffer.

      27.       Prior to filing her Charge or filing the instant Complaint, Plaintiff Webb

complained to her supervisors and to the human resources department on several

occasions. No remedial action was taken.

      28.       Plaintiff specifically complained that providing uniform pants only to

men was a form of sex discrimination. Again, nothing was done.




                                             5
        Case 5:22-cv-00044-MHH Document 1 Filed 01/11/22 Page 6 of 13




      29.    Furthermore, Plaintiff requested that she be reimbursed for the not-

insignificant out-of-pocket expenses she had been forced to incur, purchasing

multiple pairs of female pants and shorts to wear for work.

      30.    This request was denied by her supervisors and Plaintiff was told that

if she was reimbursed, Walmart would have to reimburse all female drivers and that

they declined to do so.

      31.    Plaintiff Webb continues to suffer from this blatant discrimination

against female Drivers.

      32.    Plaintiff Webb has raised multiple complaints within Walmart

regarding this blatantly discriminatory practice, but Walmart continues to only

provide men’s pants that fit male Drivers while requiring female Drivers nationwide

to purchase and clean their own pants.

      33.    Plaintiff Webb brings this action on behalf of herself and all other

similarly-situated female employees, nationwide who have suffered and continue to

suffer from the above-described discriminatory behavior.

                                CLASS ALLEGATIONS

      34.    Plaintiff restates and realleges the allegations contained in paragraphs

1 through 33 as if fully set out herein.

      35.    This case is brought as a class action under RULE 23 of the FEDERAL

RULES OF CIVIL PROCEDURE.



                                           6
        Case 5:22-cv-00044-MHH Document 1 Filed 01/11/22 Page 7 of 13




      36.    The Class is defined as follows:

             All females who were employed by Walmart, Inc. from July 20,
             2020 to the present, who were required to wear male uniform
             pants or shorts as a condition of employment or, alternatively,
             purchase their own.

      37.    Upon information and belief, there are at least one hundred (100)

persons in the putative Class.

      38.    Although the Named Plaintiff does not presently know the names of all

putative Class Members, their identities and addresses can be readily ascertained

from the Defendant.

      39.    The claims of the Named Plaintiff are typical of the claims of the Class

inasmuch as the Named Plaintiff is a member of the Class described herein. Both

the Named Plaintiff and the putative Class were subject to a common scheme and

course of conduct by the Defendants as described herein.

      40.    The Named Plaintiff has no interests adverse to the interests of other

Class Members.

      41.    The Named Plaintiff will fairly and adequately protect the interests of

the Class and has retained counsel experienced and competent in prosecution of class

actions and complex litigation.

      42.    This action is also appropriate as a class action pursuant to RULE

23(b)(1) and/or 23(b)(2) as the Named Plaintiff seeks equitable relief and

corresponding other relief for the entire Class. Hence, the prosecution of separate

                                         7
        Case 5:22-cv-00044-MHH Document 1 Filed 01/11/22 Page 8 of 13




actions by individual Class Members would create a risk of inconsistent or varying

adjudications with respect to individual members of the Class which would establish

incompatible standards of conduct for the Defendants and their required adherence

to applicable law. Further, adjudications with respect to individual Class Members

would, as a practical matter, be dispositive of the interests of other Class Members

who are not parties to the adjudication and may impair and impede their ability to

protect their interests.

       43.    This action is also appropriate as a class action pursuant to RULE

23(b)(3) as certain monetary damages are sought from this Defendant.

       44.    There are numerous and substantial questions of law and fact common

to all putative Class Members which control this litigation and which predominate

over any individual issues. Included within the common questions are:

              a)     Whether Defendant discriminated against Plaintiff and the
                     putative Class as defined above by treating them differently from
                     the male Drivers in violation of TITLE VII of the CIVIL RIGHTS
                     ACT OF 1964;

              b)     Whether Defendant discriminate against Plaintiff and the
                     putative Class as defined above by forcing them to wear men’s
                     clothing or provide their own;

              c)     Whether Defendant’s discrimination against Plaintiff and the
                     putative Class as defined above by forcing them to wear men’s
                     clothing or provide their own resulted in an economic loss;

              d)     Whether Plaintiff and the putative Class as defined above are
                     entitled to specific performance, injunctive relief, or other



                                           8
        Case 5:22-cv-00044-MHH Document 1 Filed 01/11/22 Page 9 of 13




                    equitable relief against Defendant as a result of the
                    discrimination by Defendant;

             e)     Whether Plaintiff and the putative Class as defined above are
                    entitled to an award of damages against the Defendant as a result
                    of the aforementioned discrimination;

             f)     Whether Plaintiff and the putative Class as defined above are
                    entitled to equitable relief against Defendant in the form of an
                    injunction;

             g)     Whether Plaintiff and the putative Class as defined above are
                    entitled to an award of attorney fees against Defendant pursuant
                    to a Common Fund theory, Lodestar, or the fee-shifting
                    provisions of TITLE VII of the CIVIL RIGHTS ACT OF 1964; and

             h)     Whether Plaintiff and the putative Class as defined above have
                    sustained damages and the proper measure of damages.

      45.    A class action is superior to other available methods for the fair and

efficient adjudication of this controversy and to ensure equitable relief to the putative

Class. Absent a class action, the Named Plaintiff and the Class Members may not

receive equitable relief compared to their fellow Class members to compensate them

for their harm suffered.

      46.    Most individual putative Class Members have little ability to prosecute

an individual action, due to the complexity of the issues involved in this litigation,

the significant costs attendant to litigation on this scale, and the comparatively small,

although significant, damages suffered by individual putative Class Members.




                                           9
          Case 5:22-cv-00044-MHH Document 1 Filed 01/11/22 Page 10 of 13




      47.     This action will result in an orderly and expeditious administration of

Class claims. Economies of time, effort, and expense will be fostered, and uniformity

of decisions will be insured.

      48.     This action presents no difficulty that would impede its management by

the Court as a class action and a class action is superior to other available methods

for the air and efficient adjudication of the claims and division of the limited

insurance funds available.

                                 CAUSES OF ACTION
                                       Count I

                       Sexual Discrimination under Title VII

      49.     Plaintiff realleges and incorporates by reference, paragraphs 1 through

48 as if fully stated herein.

      50.     Plaintiff, and the putative Class as defined above, has been

discriminated against by Defendant, Walmart, because of the perceived stereotypes

regarding the female gender and subjected to both a subjectively and objectively

hostile work environment, and to less-favorable working conditions as a result.

      51.     The above-discussed sex discrimination violated TITLE VII of the CIVIL

RIGHTS ACT (1964), as amended.

    52.       Plaintiff, and the putative Class as defined above, has suffered, is now

suffering, and will continue to suffer emotional distress, pain, inconvenience, mental



                                          10
          Case 5:22-cv-00044-MHH Document 1 Filed 01/11/22 Page 11 of 13




anguish, loss of enjoyment of life, and other nonpecuniary losses as a direct result

of Defendant’s violation of TITLE VII of the CIVIL RIGHTS ACT OF 1964, as amended.

    53.       Plaintiff, and the putative Class as defined above, has and will continue

in the future to suffer pecuniary losses as a direct result of Defendant’s violation of

TITLE VII of the CIVIL RIGHTS ACT OF 1964, as amended.

                                       Count II

                                 Unjust Enrichment

    54.       Plaintiff realleges and incorporates by reference, paragraphs 1 through

48 as if fully stated herein.

    55.       By failing to pay for female Drivers uniform pants or the laundering of

same, and by failing to reimburse its female Drivers for the cost of the pants or the

cost to launder/clean same, Walmart has retained monies that would have otherwise

have gone to Plaintiff and the putative Class as defined above, or would have been

expended for their benefit.

    56.       Hence, Walmart retains monies which, in equity and good conscience,

should be disgorged to Plaintiff and the putative Class as defined above.

                                PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, and the putative Class as defined above, prays that
this Court:

              a.    Certify the aforementioned Class pursuant to Fed.R.Civ.P.
                    23(b)(1), (b)(2) and/or (b)(3);



                                          11
 Case 5:22-cv-00044-MHH Document 1 Filed 01/11/22 Page 12 of 13




      b.     Declare the conduct engaged in by Defendant Walmart to
             be in violation of the Plaintiff rights;

      c.     Enter an order enjoining Defendant Walmart from
             engaging in such conduct in the future;

      d.     Enter an order of injunction directing Defendant Walmart
             to perform an equitable accounting over all monies
             unjustly retained, create a constructive trust consisting of
             the monies retained, and disgorge the res of said trust to
             Plaintiff and the putative Class as defined above via
             resulting restitution cy pres if necessary;

      e.     Award Plaintiff, and the Class as defined above,
             compensatory and punitive damages, in an amount to be
             determined by this Court;

      f.     Award Plaintiff, and the Class as defined above, costs,
             interest, and attorneys’ fees; and

      g.     Grant such further and other, different and relief, including
             equitable, as this Court deems just and proper.

Dated this, the 11th day of January, 2022.

                                 /s/ Teri R. Mastando
                                 Teri Ryder Mastando (ASB-4507-E53T)
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                                 Attorneys for Plaintiff, Diana Webb and the
                                 Putative Class as defined above




                                   12
     Case 5:22-cv-00044-MHH Document 1 Filed 01/11/22 Page 13 of 13




DEFENDANT TO BE SERVED AT THE FOLLOWING ADDRESS:

  Walmart, Inc.
  (c/o CT Corporation System, Registered Agent)
  2 North Jackson Street, Suite 605,
  Montgomery, AL 36104.




                                     13
